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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

                                       :
      STATE OF MINNESOTA, BY ITS       :                  Civil Action No.: 18-cv-14999-BRM-RLS
      ATTORNEY   GENERAL,  KEITH       :
      ELLISON,                         :
                                       :
                       Plaintiff,      :
                                       :                      SETTLEMENT AGREEMENT,
                 v.                    :                        RELEASE, AND ORDER
                                       :
      SANOFI-AVENTIS U.S. LLC, NOVO :
      NORDISK, INC., AND ELI LILLY AND :
      CO.,                             :
                                       :
                       Defendants.     :
                                       :

           WHEREAS, Plaintiff, State of Minnesota, by its Attorney General Keith Ellison (the

   “State” or “Attorney General”) filed a Complaint on October 16, 2018, in the United States District

   Court for the District of New Jersey, Civil Action 18-cv-14999, and filed a Second Amended

   Complaint on April 21, 2020 (the “Action”) against Eli Lilly and Company (“Lilly”), among other

   defendants, asserting claims relating to Lilly’s insulin products;

           WHEREAS, Lilly’s March 25, 2021 Answer and Affirmative Defenses to the Second

   Amended Complaint denied the State’s allegations;

           WHEREAS, the State and Lilly desire to resolve the Action by this Settlement Agreement,

   Release, and Order (the “Agreement”) containing the relief agreed to by the State and Lilly,

   whether acting through its respective directors, officers, employees, representatives, agents,

   affiliates, and/or subsidiaries (the “Parties”); and

           NOW, THEREFORE, the Parties agree to the following terms and conditions:

                                              DEFINITIONS

           1.      For the purposes of this Agreement, the definitions in paragraphs 2 through 12



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   apply.

             2.   “Affordability Solutions” means Lilly’s Insulin Value Program, which allows

   anyone who is a U.S. resident, over 18 years of age, and not enrolled in a government health

   insurance program to purchase their monthly prescription of a Lilly Insulin Product for no more

   than $35 out of pocket, as well as any equivalent Lilly affordability initiative that allows consumers

   to purchase their monthly prescription of a Lilly Insulin Product for no more than $35 out of

   pocket.

             3.   “Affordability Solutions Website” means the web page or set of web pages

   maintained by Lilly to disseminate information about its Affordability Solutions.

             4.   “BIN” refers to the Bank Identification Number typically associated with a health

   insurance provider that is used in routing and processing pharmacy claims, including but not

   limited to any regular “cash” BIN a pharmacy may utilize for uninsured customers.

             5.   “Biosimilar” means a biological product that the U.S. Food & Drug Administration

   (FDA) has approved as biosimilar to or interchangeable with a reference insulin product pursuant

   to a biologics license application submitted under section 351(k) of the Public Health Service Act.

             6.   “Cash-Paying Customer” refers to any Minnesota resident filling a prescription for

   a Lilly Insulin Product at a pharmacy located in Minnesota where the prescription is not processed

   through any applicable Health Coverage, regardless of whether or not the Minnesota resident has

   Health Coverage, except a “Cash-Paying Customer” does not include Minnesota residents who

   receive Health Coverage through a government health insurance program.

             7.   “Covered Conduct” means any conduct, practices, acts, statements, disclosures,

   representations, or omissions occurring up to and including the Effective Date of this Agreement

   made by the Lilly Released Parties in connection with sale of, purchase of, pricing of, rebates paid




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   for, or contracting related to the Lilly Insulin Products.

          8.      “Effective Date” means the date upon which this Agreement has been fully

   executed by all of the signatories below.

          9.      “Health Coverage” means any form of coverage provided by a commercial health

   insurer, health maintenance organization, employer-sponsored health plan, or other health

   coverage provided by commercial or private payers or by any state or federal governmental

   program.

          10.     “Lilly Insulin Product” means those Lilly insulin products that Lilly markets in

   Kwikpen, cartridge, or vial presentations in the United States under the brands Humalog, Humulin,

   Insulin Lispro, Basaglar, Lyumjev, and Rezvoglar, and any Biosimilar that Lilly markets in

   Kwikpen, cartridge, or vial presentations in the United States during the term of this Agreement.

   For the avoidance of doubt, nothing in this Agreement obligates Lilly to continue to sell or market

   any particular product.

          11.     “Lilly Released Parties” means Eli Lilly and Company, and its affiliates, divisions,

   parents, subsidiaries, assigns, and successors, and each of the foregoing’s past and present officers,

   directors, employees, representatives, and agents.

          12.     “Third Party Messaging Company” means a company that provides messaging

   services to pharmacies in its network, such as Change Healthcare’s eRx or RelayHealth.

                                   NO ADMISSION OF LIABILITY
          13.     Lilly has denied, and continues to deny, any wrongdoing, violation, or legal liability

   arising from any of the facts or conduct alleged in this Action. Neither this Agreement nor any

   settlement-related document is an admission of any wrongdoing, violation, or legal liability for

   any purpose.




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                                                 TERMS

          14.     Lilly shall make available to Cash-Paying Customers, who present at the pharmacy

   with a valid prescription for a Lilly Insulin Product that is currently marketed in the United States,

   the option to pay no more than $35 out of pocket—or no more than the lowest applicable statutory

   cap under federal or Minnesota law for all commercially insured insulin users, whichever is

   lower—for the Cash-Paying Customer’s monthly prescription of that Lilly Insulin Product. For

   the avoidance of doubt, to the extent that any federal or Minnesota law would reduce a Minnesota

   resident’s out-of-pocket costs for a Lilly Insulin Product to less than $35 for a monthly prescription

   of that Lilly Insulin Product, this Agreement does not prevent that Minnesota resident from

   obtaining a Lilly Insulin Product at that lower out-of-pocket cost pursuant to that law, as

   applicable.

          15.     Lilly shall continue to make the option in Paragraph 14 available to Cash-Paying

   Customers in a format that is no more complex than the format utilized on

   https://www.insulinaffordability.com as of September 1, 2023.

          16.     Lilly’s Affordability Solutions Website shall have a feature that allows Cash-

   Paying Customers to receive electronically any coupon, co-payment card, or other documentation

   that they must present to a pharmacy for purposes of utilizing an Affordability Solution. Lilly

   shall maintain a version of its Affordability Solutions Website that is equivalent to the English-

   language version in Spanish. Lilly shall cooperate with the Attorney General to assist the Attorney

   General to provide Hmong and Somali translations of Lilly’s eligibility questionnaire and

   instructions on how to use Lilly Affordability Solutions.

          17.     So long as Insulin Lispro and Rezvoglar are otherwise commercially available

   during the term of the Agreement, Lilly will agree to make Insulin Lispro and Rezvoglar available




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   to wholesalers, and the Minnesota Department of Corrections may contract with wholesalers

   through its agents to purchase such products to dispense to inmates at its correctional facilities.

          18.     Separate from Lilly’s pre-existing and ongoing charitable donations to the national

   relief agencies Americares, Direct Relief, and Dispensary of Hope (the “National Relief

   Agencies”), Lilly commits to working with the National Relief Agencies to identify additional

   non-profit clinics, or additional locations of non-profit clinics, in Minnesota (the “Clinics”) that

   are eligible and willing to accept Lilly Insulin Products from National Relief Agencies. Lilly

   agrees to offer to provide free Lilly Insulin Products to these National Relief Agencies (subject to

   limitations set forth in this Agreement and consistent with Lilly’s agreement with the National

   Relief Agency) such that the National Relief Agencies can provide Lilly Insulin Products to any

   additional approved, eligible non-profit Clinics in Minnesota, so that those additional Clinics may

   provide these free Lilly Insulin Products to individuals with a prescription for Lilly Insulin

   Products. Lilly’s obligations in Paragraphs 18-25 of this Agreement shall apply to a maximum of

   15 non-profit Clinics in Minnesota total at any given time during the term of the Agreement.

          19.     To identify new non-profit Clinics, Lilly will defer to eligibility and approval

   determinations made by each National Relief Agency as it does in the normal course of business

   for Lilly’s existing relationships with these National Relief Agencies. Such Clinics must apply to

   the National Relief Agency to become approved to receive free Lilly Insulin Products, and submit

   orders for Lilly Insulin Products through the processes determined by those National Relief

   Agencies. With respect to the Attorney General’s efforts to identify and secure approval of eligible

   non-profit Clinics in Minnesota to receive free Lilly Insulin Products from a National Relief

   Agency, Lilly agrees to provide reasonable cooperation in response to Attorney General’s requests

   consistent with the other terms of this Agreement.




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          20.     If a National Relief Agency identifies a non-profit Clinic in Minnesota as eligible

   and willing to receive Lilly Insulin Products from a National Relief Agency, including if the

   Attorney General identifies any non-profit Clinics that would like to receive and dispense Lilly

   Insulin Products and that non-profit Clinic is eligible and approved to receive Lilly Insulin

   Products from a National Relief Agency, Lilly commits to providing the amount of free Lilly

   Insulin Products to the National Relief Agency that the eligible non-profit Clinic requests from the

   National Relief Agency (to the extent the request is approved by the National Relief Agency). The

   Attorney General and Lilly agree that, while Lilly commits to offering free Lilly Insulin Products

   to National Relief Agencies for additional Clinics in Minnesota, Lilly cannot compel any National

   Relief Agency or Clinic to accept or dispense the Lilly Insulin Products.

          21.     In connection with the obligations in Paragraphs 18-20, Lilly will undertake efforts

   in cooperation with National Relief Agencies to identify high-need geographical locations

   throughout Minnesota where prescriptions of Lilly Insulin Products are repeatedly filled by Cash-

   Paying Customers and identify eligible non-profit Clinics as detailed in Paragraphs 21-25 of this

   Agreement, including, where possible, eligible non-profit Clinics in such high-need geographical

   locations.

          22.     Within 30 days of the Effective Date, Lilly shall work with each National Relief

   Agency to request that each National Relief Agency provide a list of all non-profit Clinics in

   Minnesota in the National Relief Agency’s network that are eligible and approved to receive Lilly

   Insulin Products (the “Eligible Clinic List”). Within 30 days after receipt of the Eligible Clinic

   List from each National Relief Agency, Lilly shall work with each National Relief Agency to

   request that each National Relief Agency contact each eligible and approved non-profit Clinic to

   inquire if that Clinic is willing to receive Lilly Insulin Products from the National Relief Agency,




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   then report back to Lilly with the results of that outreach as appropriate. Lilly shall reasonably

   cooperate with the Attorney General to provide relevant information learned through the efforts to

   identify high-need geographical locations and Clinics described in Paragraphs 21-25.             Any

   information that Lilly provides to the Attorney General in connection with any of the efforts to

   identify Clinics shall be protected from disclosure under Minn. Stat. §§ 13.37 and 13.39.

          23.      Beginning in Lilly’s first full fiscal quarter after the Effective Date and continuing

   for a period of five years thereafter on a biannual basis, Lilly commits to take the following actions

   in an effort to increase the number of non-profit Clinics in Minnesota that receive free Lilly Insulin

   Products:

          a. Lilly shall work with each National Relief Agency to identify high-need geographical

                locations throughout Minnesota where prescriptions of Lilly Insulin Products are

                repeatedly filled by Cash-Paying Customers.

          b. Lilly shall work with each National Relief Agency to request that each National Relief

                Agency provide Lilly with a list of all non-profit Clinics in Minnesota in the National

                Relief Agency’s network that are eligible and approved to receive Lilly Insulin

                Products from the National Relief Agency (the “Biannual Eligible Clinic List”).

          c. Lilly shall work with each National Relief Agency to request that the National Relief

                Agency raise awareness of the National Relief Agency’s eligibility requirements and

                the approval process for non-profit clinics in Minnesota, including non-profit Clinics

                in high-need geographical locations, to join the National Relief Agency’s network.

           d. For all subsequent Biannual Eligible Clinic Lists that each National Relief Agency

                provides, Lilly shall work with each National Relief Agency to request that the list

                includes a list of all new non-profit Clinics in Minnesota in the National Relief




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                Agency’s network that were not present in either of the prior two quarters.

           e. Lilly shall work with each National Relief Agency to request that each National Relief

                Agency inquire with all eligible Minnesota non-profit Clinics in their network about

                whether they would like to receive Lilly Insulin Products from the National Relief

                Agency. Lilly shall work with each National Relief Agency to request that each

                National Relief Agency make these inquiries with eligible Clinics, even if those same

                Clinics have declined to receive Lilly Insulin Products from the National Relief

                Agency in prior biannual periods.

          24.     If a new non-profit Clinic is deemed eligible and approved to receive Lilly Insulin

   Products by a National Relief Agency and agrees through the partnering National Relief Agency

   to receive such Lilly Insulin Products from the National Relief Agency, then Lilly will make the

   new non-profit Clinic’s requested amount of free Lilly Insulin Product available to the National

   Relief Agency in the normal course of business (and to the extent the request is approved by the

   National Relief Agency).

          25.     To the extent a National Relief Agency declines to accept an otherwise eligible

   non-profit Clinic that applies to receive free Lilly Insulin Products, Lilly agrees to work in good

   faith with the National Relief Agency to understand its decision and attempt, in good faith, to

   overcome the impediment to approval, if possible.

          26.     Lilly shall enter into contract(s) with one or more Third Party Messaging

   Companies to implement the following program, designed to assist Cash-Paying Customers whose

   prescription is processed to a pharmacy’s regular cash BIN to quickly obtain Lilly Insulin Products

   at affordable prices at the point of sale, within 60 days of the Effective Date:

          a. If a pharmacist at a pharmacy that allows the messaging described herein processes a




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           Cash-Paying Customer’s prescription for a Lilly Insulin Product to its regular cash BIN,

           the Third-Party Messaging Companies with which Lilly has contracted will provide the

           pharmacy with a message (the precise language of which Lilly will approve) advising

           the pharmacy that it can facilitate the Cash-Paying Customer’s use of one of Lilly’s

           Affordability Solutions by utilizing (or directing the Cash-Paying Customer to utilize)

           a specified link to Lilly’s Affordability Solutions Website or a specified toll free

           number. If feasible, such messaging shall indicate that the consumer may be eligible

           for substantially discounted Lilly Insulin Products.

        b. Upon receiving a Cash-Paying Customer’s request to use one of its insulin

           Affordability Solutions at a pharmacy that allows the messaging described herein, Lilly

           shall determine the Cash-Paying Customer’s eligibility according to the terms set forth

           on its Affordability Solutions Website. Lilly shall make eligibility determinations

           based on information received from the Cash-Paying Customer or pharmacy as

           promptly as possible (generally, within a matter of minutes), so as to enable the Cash-

           Paying Customer’s access to discounted Lilly Insulin Products in accordance with the

           terms of the relevant Affordability Solution. Upon a determination of eligibility, Lilly

           shall immediately take steps to supply the pharmacist or eligible Cash-Paying

           Customer with an appropriate coupon, voucher, or other notification that includes a

           BIN that the pharmacy will submit for adjudication of the prescription.

        c. To the extent necessary to enable pharmacists to assist Cash-Paying Customers’ use of

           Lilly’s Affordability Solutions in connection with the messaging described herein,

           Lilly shall make reasonable modifications to its existing processes (for example, any

           additional training of call center employees).




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          d. To the extent necessary to execute this program, Lilly shall make reasonable

                modifications to its Affordability Solutions Website and educate its call center

                employees to enable prompt pharmacist-assisted eligibility determinations for its

                Affordability Solutions, and to comply with the foregoing provisions.

          27.      Beginning in Lilly’s first full fiscal quarter after implementation of the messaging

   program and continuing for a period of three years thereafter, Lilly shall submit to the Attorney

   General, no later than 45 days after the conclusion of the fiscal quarter, a quarterly report

   describing for the prior quarter, with respect to Minnesota pharmacies:

          a. Number of pharmacies that are participating in the messaging program described above

                in Paragraph 26 (“the Messaging Program”);

          b. Number of times a message was sent via a Third-Party Messaging Company as a result

                of the Messaging Program in response to a pharmacist entering a cash BIN;

          c. Number of customers at Minnesota pharmacies who used a $35 co-pay card obtained

                from Lilly and who self-identify to Lilly as paying for Insulin Products in cash;

          d. Number of customers described in Paragraph 27(c) who enrolled after a message sent

                with the Messaging Program, to the extent the Third-Party Messaging Companies can

                track this information;

          e. Total value of discounts provided to customers described in Paragraph 27(c) who

                enrolled after a message sent with the Messaging Program, to the extent the Third-Party

                Messaging Companies can track this information.

          28.      Lilly shall maintain for at least three years all underlying documentation and data

   supporting the reports described in Paragraph 27, and shall furnish this documentation and data to

   the Attorney General upon request within 14 days of such request.




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           29.     Lilly shall report any material changes to the terms and conditions of its

   Affordability Solutions which are applicable to Cash-Paying Customers within 30 days of the

   implementation of those changes.

           30.     In any case where the circumstances warrant, the Attorney General may require

   Lilly to submit an interim report upon 30 days’ notice containing the items specified in Paragraph

   27 of this Agreement.

                                                RELEASE
           31.     Upon the execution of this Agreement, the Lilly Released Parties are hereby

   released and forever discharged from any and all claims, causes of action, or requests for relief of

   any kind arising from, connected with, or related to the Covered Conduct that the State and any of

   its departments, agencies, divisions, boards, or commissions, including the Attorney General, now

   has or may hereafter have against the Lilly Released Parties, including claims for damages,

   restitution, disgorgement, injunctive or other equitable relief, fines, costs, expenses, fees (including

   attorney’s fees), and penalties pursuant to 18 U.S.C. § 1962, Minnesota or federal antitrust laws,

   the Minnesota or federal False Claims Act, Minnesota Statutes §§ 325D.43-48, 325F.67, and

   325F.68-.694, or under other state or federal statutory, regulatory, or common law theories, in law

   or in equity, such as unfair, deceptive, or fraudulent trade practices, fraud, negligence, strict

   liability, warranty or breach thereof, willful or reckless misconduct, or unjust enrichment,

   including any and all claims and allegations that were or could have been asserted in the Action.

          32.     The State, through this Agreement, reserves, and does not settle, release, or resolve

   any of the following claims, rights, and remedies against the Lilly Released Parties:

      •   Any claims arising under state tax laws;

      •   Any claims for the violation of securities laws;

      •   Any criminal liability;


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      •   Any civil or regulatory claims unrelated to the Covered Conduct;

      •   Any civil or regulatory claims involving conduct required or prohibited by Minnesota

          Statutes Chapter 151, including Minnesota Statutes section 151.74; provided, however, that

          such reservation does not include claims under Minn. Stat. § 151.061 or disciplinary action

          under Minn. Stat. § 151.071 subds. 2(6), 2(9), 2(17), or 2(21) related to the Covered

          Conduct;

      •   Any civil or regulatory claims involving the reporting required by Minnesota Statutes

          section 62J.84;

      •   Any claims for breach of contract that the administrator of MMCAP Infuse or a member

          of MMCAP Infuse could assert regarding the agreements MMS2000316, MMS2000317,

          and MMS2000320 between the Minnesota Department of Administration and the Lilly

          Released Parties; provided, however, that such reservation does not include claims related

          to the allegations in the Second Amended Complaint;

      •   Any claims involving Medicaid drug rebates; provided, however, that such reservation

          does not include claims related to the allegations in the Second Amended Complaint;

      •   Any claims of any other person or entity involving any private causes of action, claims,

          and remedies brought by a private party, including, but not limited to, private causes of

          action, claims, or remedies provided for under Minn. Stat. § 8.31 subd. 3a; and

      •   Any action to enforce this Agreement and subsequent, related orders or judgments.

   The Lilly Released Parties reserve, and this Agreement does not settle, release, or resolve, and is

   without prejudice to, all defenses with respect to the above claims, rights, and remedies listed in

   this Paragraph.

          33.        Nothing in this Agreement waives any defenses that may be raised in response to



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   any claims, causes of action, or requests for relief of any kind brought by or on behalf of any Lilly

   Released Party. For the avoidance of doubt, nothing in this paragraph is intended to narrow or

   alter the scope of the release in Paragraph 31, which includes, among other things, a release from

   claims, counterclaims, and third-party claims arising from, connected with, or related to the

   Covered Conduct that could be brought by the State against the Lilly Released Parties.

          34.     The release in Paragraph 31 of this Agreement does not in any way release claims

   against any of the defendants in the Action aside from Lilly.

          35.     In consideration of the covenants set forth herein, within ten (10) days of the

   Effective Date, the Attorney General shall file a Dismissal with Prejudice, pursuant to which the

   Attorney General shall dismiss with prejudice all of its respective claims against Lilly in the

   Action, with each party to bear its own costs, expenses, and attorneys’ fees.

                                      DISPUTE RESOLUTION

          36.     The Parties agree that United States District Court for the District of New Jersey

   shall retain jurisdiction over all disputes regarding this Agreement. The Parties consent to

   jurisdiction by this Court to hear any Motion seeking to enforce, modify, or interpret this

   Agreement. Any such Motion shall be filed in accordance with Local Civil Rule 7.1 of the Local

   Civil and Criminal Rules of the United States District Court for the District of New Jersey.

          37.     To the extent that the Attorney General has good cause to believe that Lilly has not

   complied with any provision of this Agreement, the Attorney General shall notify Lilly in writing

   of the specific objection, identify with particularity the provisions of this Agreement that have

   allegedly not been complied with, and give Lilly 30 business days to respond to the notification.

          38.     Upon receipt of written notice from the Attorney General, Lilly shall provide a

   good-faith written response to the Attorney General containing either a statement explaining why




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   Lilly believes it is in compliance with the Agreement or a detailed explanation of how the alleged

   violation occurred and a statement explaining how and when Lilly intends to remedy the alleged

   violation. The Attorney General may not take any action during the 30-day response period.

   Nothing shall prevent the Attorney General from agreeing in writing to provide Lilly with

   additional time to respond to the notice.

           39.     The provisions of this Agreement shall be construed in accordance with the laws of

   the State of Minnesota.

                                            GENERAL TERMS
           40.     Unless otherwise specified within this Agreement, Lilly’s obligations under this

   Agreement shall continue for a period of five years after the Effective Date. Nothing in this

   Agreement shall relieve Lilly of other obligations imposed by any applicable state or federal law

   or regulation or other applicable law.

           41.     The Parties acknowledge that certain performance obligations involving third

   parties may be outside of the Parties’ control, including the actions of non-profit clinics, national

   relief agencies, Third Party Messaging Companies, wholesalers, pharmacies, individual

   pharmacists, consumers, and other actors in the drug supply chain. In the event that Lilly believes

   that any third party is interfering with the purpose of the Agreement or obstructing, impairing, or

   delaying Lilly’s ability to comply with its obligations under this Agreement, the Parties agree to

   confer in good faith about steps that either or both may be able to take to encourage cooperation

   by third parties.

           42.     To seek a modification of this Agreement, Lilly shall make a written request for

   such modification to the Attorney General. The Attorney General will respond to any such request

   within 60 days, and that response may be a request for additional information. Lilly will not

   unreasonably withhold additional information, and the Attorney General will not unreasonably


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   withhold consent to modify this Agreement in light of federal or state legislative or regulatory

   action, or any other conditions that would make performance impractical or impossible. This

   Agreement may not be amended except by an instrument in writing signed on behalf of the Parties

   to this Agreement.

          43.     In the event that any one or more of the provisions contained in this Agreement

   shall for any reason be held by a court of competent jurisdiction to be invalid, illegal, or

   unenforceable in any respect, such invalidity, illegality, or unenforceability shall not affect any

   other provision of this Agreement.

          44.     The Agreement and all its terms shall be construed as if mutually drafted with no

   presumption of any type against any party that may be found to have been the drafter.

          45.     Any failure by any Party to this Agreement to insist upon the strict performance by

   another Party of any provision of this Agreement shall not be deemed a waiver of such provision.

          46.     Each person signing this Agreement represents that such person has the authority

   to bind their respective Party to this Agreement.

          47.     This Agreement is not intended for use by any third party in any other proceeding.

          48.     This Agreement may be executed in multiple counterparts by the Parties hereto.

   All counterparts so executed shall constitute one agreement binding upon all Parties,

   notwithstanding that all Parties are not signatories to the original or the same counterpart. Each

   counterpart shall be deemed an original to this Agreement, all of which shall constitute one

   agreement to be valid as of the Effective Date. For purposes of this Agreement, copies of

   signatures shall be treated the same as originals. Documents executed, scanned, and transmitted

   electronically and electronic signatures shall be deemed original signatures for purposes of this

   Agreement and all matters related thereto, with such scanned and electronic signatures having the




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   same legal effect as original signatures.

          49.     The failure of a party to exercise any rights under this Agreement shall not be

   deemed to be a waiver of any right or any future rights.

          50.     Nothing in this Agreement shall be construed to limit the power or authority of the

   State of Minnesota or the Attorney General except as expressly set forth herein.

          51.     This Agreement constitutes the full and complete terms of the agreement entered

   into by the Parties hereto. The Parties agree that (1) this Agreement, prior versions of this

   Agreement, and any communications or documents relating to this Agreement, are protected from

   disclosure under Minn. R. Evid. 408 and Federal Rule of Evidence 408; and (2) this Agreement,

   prior versions of this Agreement, and any communications or documents relating to this

   Agreement, may not be introduced in any action for any purpose whatsoever, other than for

   purposes of enforcing this Agreement.

          52.     Notices or communications required by or related to this Agreement must be sent

   via certified mail or emailed to the following persons, or any person subsequently designated by

   the parties to this Agreement to receive such notices:

          If to Lilly, to:

          Daniel Siegfried
          Associate Vice President, Assistant General Counsel
          Eli Lilly and Company
          Lilly Corporate Center
          Indianapolis, IN 46285
          siegfried_daniel@lilly.com,
          or in his absence, to the person holding the title of Assistant General Counsel - Litigation.




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            If to the Attorney General, to:

            Noah Lewellen
            Assistant Attorney General
            Office of the Minnesota Attorney General
            445 Minnesota Street, Suite 1400
            St. Paul, MN 55101
            noah.lewellen@ag.state.mn.us

   If mail or email is returned or indicated as undeliverable, notice on the Attorney General shall be

   made to the Manager or Deputy of the AGO’s Consumer, Wage, and Antitrust Division, or any

   successor division that is responsible for civil enforcement of consumer-protection laws.

            53.    On or before executing this Agreement, Lilly shall provide the Attorney General

   with Lilly’s taxpayer identification number (TIN) or social security number. Lilly shall cooperate

   in the Attorney General’s completion of IRS Form 1098-F by providing the Attorney General with

   any additional information requested by the Attorney General regarding that form.

   Dated:                                       KEITH ELLISON
                                                Attorney General
                                                State of Minnesota

                                                JAMES W. CANADAY
                                                Deputy Attorney General

                                                JESSICA WHITNEY
                                                Deputy Attorney General


                                                By:
                                                NOAH LEWELLEN
                                                Assistant Attorney General

                                                JASON PLEGGENKUHLE
                                                Assistant Attorney General

                                                ALEX BALDWIN
                                                Assistant Attorney General

                                                JUSTIN MOOR
                                                Assistant Attorney General


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   Dated: February 5, 2024           ___________________________
                                     Daniel Siegfried
                                     Associate Vice President, Assistant General Counsel
                                     Eli Lilly and Company




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                                         ORDER

         Based upon the foregoing Agreement, it is SO ORDERED.



   Date: _________________                       _________________________________
                                                 THE HONORABLE
                                                 BRIAN R. MARTINOTTI
                                                 UNITED STATES DISTRICT JUDGE




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